                     ____




                                   IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE DISTRICT OF COLUMBIA CI                               COURT OF APPEALS
                                                                                   FOR DISTRICT OF COLUMBIA CIRCUIT
                     JOHN DOE (Claimant #1),                       )
                                                                   )                        APR282023
                                  Petitioner,                      )
                                                                                     RECEIVED
Page 1 of 16




                     v.                                            )      Case No.    2
                                                                   )
                     UNITED STATES SECURITIES,                     )      NOT YET SCHEDULED
                     AND EXCHANGE COMMISSION                       )      FOR ORAL ARGUMENT
                                                                   )
Filed: 04/28/2023




                                  Respondent.                      )

                                                 PETITION FOR REVIEW

                            Pursuant to Section 21F of the Securities Exchange Act of 1934, 15 U.S.C. §

                     78u-6(O, 17 C.F.R. § 240.2 1F-13, and Rule 15 of the federal Rules of Appellate
Document #1997134




                     Procedure, John Doe (Claimant #1) hereby petitions the Court for review of the

                     Order Determining Whistleblower Award Claims (Rel. No. 9722$, File No. 2023-

                     47) of the U.S. Securities and Exchange Commission entered on March 31, 2023.

                            Accompanying this Petition is an Unopposed Motion to file Under Seal,
USCA Case #23-1124




                     seeking leave for the Petitioner to proceed as John Doe. The unredacted, non-public

                     Order is attached as Exhibit 1; the redacted Order is attached as Exhibit 2. Petitioner

                     requests that Exhibit 1 not be docketed publicly, and that it remain under seal

                     pursuant to 15 U.S.C. § 78u-6(h)(2)(A) and Circuit Rule 47.1(a), as it will reveal his

                      identity.
                     Respectfully submitted,

                                               /s/ Stephen M Kohn
                                               Stephen M. Kohn

                                               /s/ David K. Colapinto
Page 2 of 16




                                               David K. Colapinto

                                               /s/ Kayla li Svihovec
                                               Kayla M. Svihovec

                                               Kohn, Kohn & Colapinto, LLP
Filed: 04/28/2023




                                               1710 N Street, NW
                                               Washington, DC 20036
                                               (202) 342-6980
                                               sk@kk. corn
                                               dk@kkc.com
                                               kayla.svihovec@kkc.com

                                               Attorneys for Petitioner
Document #1997134




                     Date: April 28. 2023
USCA Case #23-1124
USCA Case #23-1124   Document #1997134   Filed: 04/28/2023   Page 3 of 16




                                               EXHIBIT 2
                                                        UNITED STATES Of AMERICA

                                                                       Before the

                                               SECURITiES AND EXCHANGE COMMISSION
Page 4 of 16




                     SECURITIES EXCHANGE ACT Of 1934
                     Release No. 9722$ / March 31, 2023

                     WHISTLEBLOWER AWARD PROCEEDING
                     file No. 2023-47
Filed: 04/28/2023




                                                     In the Matter of the Claims for an Award

                                                                  in connection with
                                                                          Redacted
                                                                          Redacted


                                                                                         Redacted
                                                        Notice of Covered Action
Document #1997134




                                   ORDER DETERMINING WHISTLEBLOWER AWARD CLAIMS

                             The Claims Review Staff (“CRS”) issued Preliminary Determinations recommending the
                                                                                   Redacted
                     denial of the whistleblower award claims submitted by                      (“Claimant 1”),
                                                   Redacted
                          (“Claimant 3”), and                 (“Claimant 4”) (collectively, the “Claimants”) in
                     connection with the above-referenced covered action (the “Covered Action”). Claimants filed
                     timely responses contesting the preliminary denials. For the reasons discussed below,
                     Claimants’ award claims are denied.

                         Background
USCA Case #23-1124




                         A. The Covered Action

                            The investigation that led to the Covered Action (the “Investigation”) was opened by
                                              Redacted                         .                        .

                     Enforcement staff in                  after staff reviewed news reports indicating potential
                                        Redacted                          ,,       Redacted
                     misconduct by                     (the Company ). On                     the Commission filed a
                                                                                                    ,
                                                                                                              Redacted
                     complaint against the Company in federal district court alleging the Company
                                                        Redacted
                                                                                                The Commission alleged
                                                                         Redacted
                     that


                       The CRS also preliminarily denied the award claim of Claimant 2. That claimant did not seek reconsideration of
                     the Preliminary Determination, and therefore the denial of his/her claim was deemed to be the Final Order of the
                     Commission under Exchange Act Rule 21 F-1O(f).



                                                                                                                               EXHIBIT 2   -   Page 1
                                                                                         Redacted
                                  Redacted
                     On                      the court entered final judgment ordering the Company to pay a
                                                  ,
                     Redacted     .   .                                          .   .

                              civil penalty and permanently enjoining the Company from future violations of the
                     securities laws.
                                                Redacted
                            On                      the Office of the Whistleblower (“OWB”) posted the Notice for
                     the Covered Action on the Commission’s public website inviting claimants to submit
Page 5 of 16




                     whistleblower award applications within 90 days. Claimant 1 and Claimant 3 filed timely
                                                                                                        Redacted
                     whistleblower award claims; Claimant 4 submitted an untimely award claim on

                           B. The Preliminary Determinations and Claimants’ Responses
                                              Redacted                   .                      .       .

                           On                     the CRS issued Preliminary Determinations recommending that
                                                           ,


                     Claimants’ claims be denied.
Filed: 04/28/2023




                                          1. Claimant 1

                                                 i. Preliminary Determinations

                             The CRS preliminarily determined that Claimant 1 was not a “whistleblower” as defined
                     under the Securities Exchange Act of 1934 (“Exchange Act”) Rule 2 lf-2(a)(1) because Claimant
                     1 did not provide information regarding a potential securities law violation to the Commission in
                     the form and manner required by Rule 21 F-9. The CRS noted that Claimant 1 submitted
                                                       Redacted                                     .       .   ,
                     information on a Form ICR in                 ,approximately ten months after Claimant I s initial
                                                            Redacted
                     meetings with Commission staff in                 The CRS noted that the infonriation provided by
Document #1997134




                                                                                          .

                                          Redacted
                     Claimant 1 in the             ICR did not substantially assist the staff in its investigation and
                     was not used in, nor contributed to, the charges brought by the Commission in the Covered
                     Action.

                             The CRS also preliminarily determined that Claimant 1 ‘s submission to the Commission
                     was not made voluntarily as required by Exchange Act Rules 2 lf-3 and 21 F-4(a)(l). A
                     submission to the Commission is considered “voluntary” if, as relevant here, it is provided
                     “before a request, inquiry, or demand that relates to the subject matter of [the] submission” is
                     directed to the claimant or the claimant’s representative “[b]y the Commission” or in
                     “connection with an investigation by. any other authority of the federal government.”2 In
                                                                         .   .
USCA Case #23-1124




                     particular, the CRS stated that Claimant 1 made his/her submission to the Commission after a
                     request, inquiry, or demand by Commission staff and other federal agencies that related to the
                     same subject matter as Claimant 1 ‘s submission. The CRS noted that Claimant 1 did not submit
                     infonriation to any of the entities enumerated in Rule 21 F-4(a) prior to being contacted by the
                     Commission. The CRS also stated that whistleblowers do not meet the requirement of making a
                     voluntary submission pursuant to Rule 21 F-4(a) by providing information to the news media or
                     foreign authorities.




                     2
                         Exchange Act Rule 21 F-4(a)( I )(i), 17 C.F.R. § 240.21 f-4(a)( I )(i).




                                                                                                                EXHIBIT 2   -   Page 2
                                          ii. Claimant l’s Response to the Preliminary Determinations

                             Claimant 1 submitted a timely written response (“Claimant 1 ‘s Response”) contesting the
                     Preliminary Determinations.3 Claimant 1 argues that he/she complied with the “form and
                     manner” requirements of Rule 2 lF-9 because he/she submitted a TCR within 30 days of learning
                     of the requirement. Claimant 1, a foreign national, contends that Claimant 1 was not aware of
                     the ICR requirement until he/she met with his/her current counsel, and that none of his/her prior
Page 6 of 16




                     attorneys informed Claimant 1 of the existence of the Dodd-Frank Act or the ICR filing
                     requirements. Claimant 1 also argues that he/she had not engaged any of his/her prior counsel
                     with regard to the Dodd-Frank Act and was therefore not represented for purposes of a
                                                         Redacted
                     whistleblower submission until                Claimant 1 contends that once he/she became aware
                     of those requirements, Claimant 1   submitted a TCR within 18 days. Claimant 1 also asserts that
                     “there is no requirement that a whistleblower submit the same information provided to the news
                     media to the SEC within a certain number of days to qualify for an award.” Claimant I also
Filed: 04/28/2023




                     states that he/she provided the information to other federal agencies before submitting his/her
                     TCR.

                             Next, Claimant 1 argues that he/she “voluntarily provided ‘original infonriation’
                     through the news media, as permitted by the [Dodd-Frank Act].” Claimant 1 states that his/her
                     information was “voluntarily” provided to the Commission effective the date Claimant 1
                     disclosed the information thorough the news media. Claimant 1 also contends that he/she
                     qualifies as an original source of the information provided to the Commission via the news
                     media, and submits a declaration from a journalist who worked with Claimant 1 in support of
                     that contention.
Document #1997134




                             Claimant 1 also argues that the Commission, “in an apparent oversight committed during
                     the rulemaking process,” did not include disclosures initially made to the news media within the
                     definition of a voluntary submission. Claimant I states that such initial disclosures to the news
                     media are authorized under the Dodd-Frank Act. Claimant 1 notes that the “SEC should have
                     addressed third-party news media disclosures in their implementing rules,” but “the failure of the
                     SEC to create a rule covering initial whistleblower disclosures of original information to the
                     news media does not negate this Congressionally established right.” Because, according to
                     Claimant 1, the Commission did not address this concern, Claimant 1 argues that the
                     Commission must interpret its rules in way that permits voluntary disclosures to the news media.
USCA Case #23-1124




                            Claimant 1 also argues that because of “the failure of the SEC to approve specific rules
                     applicable to news media whistleblowers, the only published SEC rules that can be lawfully
                     applied to media whistleblowers” are Rules 21F-10 and 2lF-l1, which pertain to the submission
                     of whistleblower award applications. Claimant 1 further contends that statutes covering other


                       See Exchange Act Rule 21F-l0(e), 17 C.F.R. § 240.21F-l0(e) (stating that a claimant may submit a written
                     response contesting the Preliminary Determinations “within sixty (60) calendar days of the date of the Preliminary
                     Determination, or if a request to review materials is made..   then within sixty (60) days of the Office of the
                                                                                    .   ,


                     Whistleblower making those materials available for your review.”). Pursuant to Exchange Act Rule 21 F-I 0(e)( t),
                     claimants have thirty days from the date of the Preliminary Determinations to request the materials that formed the
                     basis for the CRS’s Preliminary Determinations. Claimant 1 did not submit such a request and thus did not receive
                     the record materials.



                                                                                                                               EXHIBIT 2   -   Page 3
                     whistleblower programs, such as those of the internal Revenue Service and the Department of
                     Justice, provide “carve-outs” for disclosures to the news media, and the failure to address such
                     disclosures to the media in the Commission’s whistleblower rules “undermined the first
                     Amendment.” Claimant 1 also states that the Preliminary Determinations ignore the impact that
                     Claimant 1 ‘s disclosures had on the public interest and ignores the whistleblower program’s goal
                     of deterring wrongdoing. Lastly, Claimant 1 argues that the Commission should waive the
                     voluntary submission and ICR submission requirements at issue here and grant Claimant I an
Page 7 of 16




                     award due to the quality of his/her submissions.4

                                 2. Claimant 3

                                           i. Preliminary Determinations

                             The CRS preliminarily determined that Claimant 3’s claim be denied because Claimant 3
Filed: 04/28/2023




                     did not provide information that led to the successful enforcement of the Covered Action within
                     the meaning of Section 21f(b)(l) of the Exchange Act and Rules 21F-3(a)(3) and 21F-4(c)
                     thereunder. The CRS concluded that Claimant 3’s information did not either (1) cause the
                     Commission to (a) commence an examination, open or reopen an investigation, or inquire into
                     different conduct as part of a current Commission examination or investigation, and (b)
                     thereafter bring an action based, in whole or in part, on conduct that was the subject of
                     claimant’s information, pursuant to Rule 21f-4(c)(1); or (2) significantly contribute to the
                     success of a Commission judicial or administrative enforcement action under Rule 2 lf-4(c)(2) of
                     the Exchange Act. The CRS noted that the staff did not coimuunicate with Claimant 3 and that
                     Claimant 3 was not the source of, or impetus for, the Commission’s investigation and the
Document #1997134




                     information provided by Claimant 3 did not contribute to the charges brought in the Covered
                     Action.

                                           ii. Claimant 3’s Response to the Preliminary Determinations

                            Claimant 3 submitted a timely written response (“Claimant 3’s Response”) contesting the
                     Preliminary Deterrriinations. Claimant 3 contends that he/she is entitled to “review the full
                     administrative record,” and that the Commission has “omitted” the declarations of several other
                     Enforcement staff who were listed in the press release pertaining to the Covered Action.
                     Claimant 3 states that “[t]he SEC’s failure to provide the Whistleblower access to the full
USCA Case #23-1124




                      After the sixty-day window to submit a response to the Preliminary Determinations had passed, Claimant 1 made
                                                                                                Redacted
                     several other submissions contesting the CRS’s recommendations. In                ,    approximately three months
                     after the window for submitting a response had passed, Claimant I submitted a “Request for Exemptive Relief from
                     Exchange Act Rules 21 F-4 and 2 I F-9,” comprising more than 400 pages, followed by several amendments over the
                                                                                     Redacted
                     following year, the most recent of which was submitted in              ,   approximately fifteen months after the
                                                                            Redacted
                     window for submitting a response had passed. In                ,   approximately eight months after the window for
                     submitting a response had passed, Claimant I submitted a “request for mediation” to the Commission’s General
                     Counsel of almost 150 pages. Because these materials were submitted after the sixty-day window for submissions
                     established by Rule 21F-10(e) had passed, we decline to include them as part of this whistleblower proceeding. We
                     did accept and incorporate into the record of this proceeding a corrected response to the Preliminary Determinations
                                                       Redacted
                     from Claimant I submitted                       the corrected response did not include new arguments or evidence, but
                                                                                                                              Redacted
                     only updated certain erroneous legal citations in Claimant 1 ‘s initial submission. In addition,
                     Claimant I submitted a motion for argument    before  the Commission.     However,  we  do not believe that the
                     circumstances here warrant using Section 36(a) or Rule 21 F-8(a) to depart from the procedures already set forth in
                     Rule 21F.



                                                                                                                             EXHIBIT 2- Page 4
                      administrative record in this matter requires the SEC to vacate its Preliminary Determination,
                      and allow the Whistleblower to prepare a response based on the full administrative record.”
                      Claimant 3 also argues that he/she provided information to other federal and state agencies, and
                      that “the omitted declarations from the agencies themselves, do not allow the administrative
                      record to reflect the participation of any of these federal, or non-federal agencies
                                                                                                        .   .   .




                      Claimant 3 further argues that the staff declaration relied upon by the CRS is based upon the
                      staffs “limited knowledge” and that relevant personnel at other government agencies “must
Page 8 of 16




                      contribute to the full administrative record.”

                                     3. Claimant 4

                                            i. Preliminary Determinations

                               The CRS preliminarily determined that Claimant 4’s claim be denied because Claimant 4
Filed: 04/28/2023




                       did not provide infonriation that led to the successful enforcement of the Covered Action within
                       the meaning of Section 21f(b)(1) of the Exchange Act and Rules 21F-3(a)(3) and 21f-4(c)
                       thereunder. The CRS concluded that Claimant 4’s infonriation did not either (1) cause the
                       Commission to (a) commence an examination, open or reopen an investigation, or inquire into
                       different conduct as part of a current Commission examination or investigation, and (b)
                       thereafter bring an action based, in whole or in part, on conduct that was the subject of
                       claimant’s infonriation, pursuant to Rule 21 F-4(c)(1); or (2) significantly contribute to the
                       success of a Commission judicial or administrative enforcement action under Rule 21 F-4(c)(2) of
                       the Exchange Act. The CRS noted that Claimant 4’s information was not the impetus for
                       opening the Investigation, nor did it contribute to the charges in the Covered Action, and that
Document #1997134




                       staff did not communicate with Claimant 4.

                               The CRS also preliminarily determined that Claimant 4 failed to submit his/her
                       application for award to the Commission within 90 days of the posting of the Notice of Covered
                       Action, as required by Rule 21F-10(b). The CRS noted that Claimant 4’s application for award
                       was received 74 days after the notice period for the Covered Action closed.

                                            ii. Claimant 4’s Response to the Preliminary Determinations

                               Claimant 4 submitted a timely written response (“Claimant 4’s Response”) contesting the
                       Preliminary Determinations. Claimant 4 argues that he/she is entitled to an award in connection
USCA Case #23-1124




                       with the Covered Action because he/she provided information about the Company to the
                       Commission in           seven years before the Covered Action was filed. Claimant 4 argues that
                       “had the SEC Employees acted upon my Fraud TIP in            ,[the Company] would not have
                       likely done the other Fraud TiP and each one in between, from [a seven year period] my window
                       of entitlement, as I see it, within which to calculate my Whistleblower award.” Claimant 4’s
                       Response did not address the CRS ‘s preliminary determination that Claimant 4 submitted his/her
                       whistleblower award application after the 90-day submission window had closed.

                     11.      Analysis

                                  To qualify for an award under Section 21F of the Exchange Act, a whistleblower must
                           voluntarily provide the Commission with original information that leads to the successful



                                                                                                                    EXHIBIT 2   -   Page 5
                     enforcement of a covered action.5 Under Exchange Act Rule 21 F-4(a), a submission to the
                     Commission is considered “voluntary” if, as relevant here, it is provided “before a request,
                     inquiry, or demand that relates to the subject matter of [the] submission” is directed to the
                     claimant or the claimant’s representative “[b]y the Commission” or in “connection with an
                     investigation by.. any other authority of the federal government.”6 If the Commission directs
                                              .




                     a request, inquiry, or demand to a claimant or his/her representative before the claimant makes a
                     submission, “[the claimant’s] submission will not be considered voluntary, and [the claimant]
Page 9 of 16




                     will not be eligible for an award.”7 The purpose of the rule is to “creat[e] a strong incentive for
                     whistleblowers to come forward early with information about possible violations of the securities
                     laws rather than wait until Government or other official investigators ‘come knocking on the
                     door.”8 Rule 21 F-4(a)(1) establishes a “simple and straightforward test for when we will treat a
                     whistleblower as having submitted information voluntarily; as relevant here, the whistleblower
                     must provide his or her tip to the Commission before investigators direct a ‘request, inquiry, or
                     demand’ to the whistleblower that relates to the subject matter of the tip.”9 However, a
Filed: 04/28/2023




                     claimant’s submission also will be considered voluntary if the claimant “voluntarily provided the
                     same information to one of the other authorities identified above [in Rule 2 lf-4(a)( 1)],” such as
                     Congress, other authorities of the federal government, or a state attorney general or securities
                     regulatory authority, “prior to receiving a request, inquiry, or demand from the Conrniission.”°

                             Under Exchange Act Rules 21 f-4(c)( 1) and (2), respectively, the Commission will
                     consider a claimant to have provided original information that led to the successful enforcement
                     of a covered action if, as relevant here, either: (1) the original infonriation caused the staff to
                     open an investigation “or to inquire concerning different conduct as part of a current.
                     investigation” and the Commission brought a successful action based in whole or in part on
Document #1997134




                     conduct that was the subject of the original information;’’ or (ii) the conduct was already under
                     examination or investigation, and the original infoniiation “significantly contributed to the
                     success of the action.”2




                         Exchange Act Section 21F(b)(I), 15 U.S.C. § 78u-6(b)(l).

                     6
                         Exchange Act Rule 21F-4(a)(l)(i), 17 C.F.R. § 240.21F-4(a)(l)(i).

                         Exchange Act Rule 21F-4(a)(2), 17 C.F.R. § 240.2 1F-4(a)(2).
USCA Case #23-1124




                       Proposing Release for Whistleblower Rules, 75 Fed. Reg. 70488, 70,490 (Nov. 17, 2010): see also Securities
                     Whistleblower Incentives and Protections, 76 Fed. Reg. 34300, 34,307 (June 13, 2011) (stating that a
                     “whistleblower award should not be available to an individual who makes a submission after first being questioned
                     about a matter (or otherwise requested to provide information) by the Commission staff acting pursuant to any of
                     [its] investigative or regulatory authorities”).

                         Order Determining Whistleblower Award Claim, Exchange Act Release No. 84046 at 8 (Sept. 6, 2018).

                     ‘°
                           Exchange Act Rule 21F-4(a)(2), 17 C.F.R. § 240.21F-4(a)(2).

                           See Exchange Act Rule 2lf-4(c)(1), 17 C.F.R. § 240.21F-4(c)(1).

                      12
                           See Exchange Act Rule 21F-4(c)(2), 17 C.F.R § 240.2 IF-4(c)(2).



                                                                                                                           EXHIBIT 2     -   Page 6
                             In detenriining whether the information “significantly contributed” to the success of the
                     action, the Commission will consider whether the infoniiation was “meaningful” in that it “made
                     a substantial and important contribution” to the success of the covered action. 13 for example,
                     the Commission will consider a claimant’s information to have significantly contributed to the
                     success of an enforcement action if it allowed the Coimitission to bring the action in significantly
                     less time or with significantly fewer resources, or to bring additional successful claims or
                     successful claims against additional individuals or entities. 4
Page 10 of 16




                             The requirement that claimants file whistleblower award claims within ninety days of the
                     posting of a Notice of Covered Action (“NoCA”), set forth in Exchange Act Rule 21F-l0, serves
                     important programmatic functions. The deadline ensures fairness to potential claimants by
                     giving all an equal opportunity to have their competing claims evaluated at the same time. The
                     deadline also brings finality to the claims process so that the Commission can make timely
                     awards to meritorious whistleblowers. 15
Filed: 04/28/2023




                              The requirement of Exchange Act Rule 2 1F-9 to submit a tip in the prescribed manner on
                     Form ICR or through the Commission’s TCR System serves similarly important functions and is
                     critical to the trackability, management, and reliability of tips.16 Exchange Act Rule 9(e),
                     adopted in 2020, provides a limited exception to this filing requirement, stating that claimants
                     must comply with the procedures for submitting information described in Rules 2 1F-9(a) and (b)
                     within 30 days of providing the Commission with the original information to be relied upon as a
                     basis for claiming an award. In addition, it provides for an automatic waiver of the TCR filing
                     requirement where a claimant can show that he or she complied with the submission
                     requirements of the rule within 30 days of “first obtaining actual or constructive notice about
                     those requirements (or 30 days from the date you retain counsel to represent you in connection
Document #1997134




                     with your submission of original information, whichever occurs first);” and “[t]he Commission
                     can readily develop an administrative record that unambiguously demonstrates that you would
                     otherwise qualify for an award.”17


                     13
                       Order Determining Whistleblower Award Claims, Exchange Act Rel. No. 90922 (Jan. 14, 2021) at 4; see also
                     Order Determining Whistleblower Award Claims, Exchange Act Rel. No. $5412 (Mar. 26, 2019) at 9 (same).

                     ‘
                          Exchange Act Rel. No. $5412 at $-9.
USCA Case #23-1124




                     ‘
                       See Securities Whistleblower Incentives and Protections, 76 Fed. Reg. 34300, 34300 (June 13, 2011); Order
                     Determining Whistleblower Award Claim, Release No. $ $464 at 3 (Mar. 24, 2020).

                     16
                        See Order DetenTlining Whistleblower Award Claims, Exchange Act Re!. No. 9439$ (March 11, 2022) at 3 (“The
                     programmatic purposes of requiring whistleblowers to submit their information on Form ICR or through the online
                     ICR portal include: allowing the Commission to promptly determine whether an individual who submits
                     information is subject to heightened whistleblower confidentiality protections; helping the staff efficiently process
                     the information and other documentation provided by the individual and assess its potential credibility; and assisting
                     the Commission in eventually evaluating the individual’s potential entitlement to an award. Also, by submitting a
                     tip on form TCR, the submitter declares under penalty of perjury that the information is true and correct to the best
                     of the submitter’s knowledge and belief. A tip that bypasses the TCR System may not contain the sworn declaration
                     under penalty of perjury as to the veracity of the information.”).

                     ‘
                          Exchange Act Rule 2lF-9(e), 17 C.F.R § 240.2 lf-4(e).




                                                                                                                             EXHIBIT 2        -   Page 7
                           A. Claimant 1

                             Claimant 1 does not qualify for an award. The record shows that Claimant 1 did not meet
                     the voluntary submission requirement of Rule 21 F-4(a), or the fonii and manner requirements of
                     Rule 21f-9. for clarity, we summarize the record with regard to Claimant 1 as follows:
                                                                  Redacted                  .               .                   Redacted
                                The                                       published articles on                   regarding
Page 11 of 16




                                                                                                                                               ,
                                           Redacted             •18
                                                                     Enforcement staff opened the Investigation in
                            based upon review of the news reports. The staff became aware of Claimant 1 from those
                     news reports, as they were reportedly based, in part, on Claimant l’s information and included
                                                         Redacted                                                       .
                                                                                                                                           .               **



                     statements from him/her. On                          two days after the articles were published,
                                                                                   ,
                                                                   Redacted
                                                                                                                       issued
                     a letter to Claimant 1 requesting that Claimant 1 provide documents and appear for an interview.
                                 Redacted
                     In                        Enforcement staff learned that other government agencies were
                                                      ,
Filed: 04/28/2023




                                                                     Redacted
                     attempting to interview Claimant 1. On                      Enforcement staff emailed foreign counsel
                                                                                                ,


                     for Claimant 1, and asked that staff be allowed to participate in any interview Claimant 1 gave to
                     other government agencies. The record shows this was the first contact between Commission
                     staff and Claimant 1 or his/her representatives.
                                         Redacted
                              On                 Enforcement staff and other government staff interviewed Claimant 1
                                                              ,


                     at the offices of Claimant l’s initial U.S. counsel (“Initial Counsel”). The information provided
                     by Claimant 1 at that interview did not substantially assist the Commission in bringing the
                                                                                                       Redacted
                     charges in the Covered Action. 19 Following the interview, and beginning in
                                                                                                                                 .
                                                                                       .            .
                                                                                                                the staff
                                                                                                                    .       .
                                                                                                                                                   ,


                     made several requests for information to Claimant I through Initial Counsel. Initial Counsel
                                                              Redacted
                     initially did not respond, and on                     ,lnitial Counsel told Enforcement staff that
Document #1997134




                     Claimant 1 would not respond to the staffs requests.
                                                                                 Redacted
                              Claimant 1 submitted a TCR on                   more than one year after the
                                                                                                    ,


                     Investigation was opened, more than eleven months after the staff first contacted Claimant 1
                     requesting an interview, and more than ten months after the staff interviewed Claimant 1. In
                       Redacted                                              .                          .       .

                                  through new counsel, Claimant 1 sat for an interview and submitted an additional
                                                                                Redacted
                     TCR. The information provided by Claimant 1 in                           was either duplicative of
                     information Claimant 1 provided previously or not material to the allegations or charges in the
                     Covered Action.
USCA Case #23-1124




                                   i.    Voluntary Submission of Original Information

                          The record shows that Claimant 1 did not make a voluntary submission to the
                                    Redacted
                     Commission.20           issued a request for documents and an interview to Claimant 1 related

                     18
                       As part of Claimant l’s response to the Preliminary Determinations, Claimant 1 submitted an affidavit from the
                     author of the Redacted article indicating that Claimant 1 had been in contact with the author since     and was a             ,


                     key source for a Redacted       article by the same author that was published by the Redacted approximately ten
                                                          ,

                                            Redacted
                     months before the                     articles that were reviewed by Enforcement staff.
                                                                                                                                                       Redacted
                     19
                       The record indicates that Claimant 1, through Initial Counsel, also provided documents to the
                     Redactedin Redacted pursuant to a subpoena.


                     20
                          Claimant 1 ‘s whistleblower award application acknowledges that Claimant 1 received a request from an



                                                                                                                                                        EXHIBIT 2   -   Page 8
                                                                         Redacted
                     to the subject matter of his/her tip on                 Enforcement staff first contacted
                                                                                      .

                                                                                                     Redacted
                     Claimant 1 through his/her counsel regarding the subject matter of his tip in             prior to      ,


                     receiving any information or contact from Claimant 1. Enforcement staff, along with other
                                                                                       Redacted
                     government agencies, interviewed Claimant 1 one month later.               thus directed to
                     Claimant 1 a “request, inquiry, or demand” related to the subject matter of Claimant l’s
                                                                                      Redacted
                     information before Claimant 1 provided his/her infonriation to              And likewise the
                                                                                                            .




                     Commission directed its own “request, inquiry, or demand” related to the subject matter of
Page 12 of 16




                     Claimant l’s information to Claimant 1 before Claimant 1 provided his/her information to the
                     Commission.

                              further, Claimant l’s provision of information to foreign government entities does not
                     satisfy Rule 21F-4(a).2’ Claimant 1 states that he/she provided infonriation to various foreign
                     governmental entities, none of which are among those entities enumerated in Rule 21f-4(a).
                     When adopting the whistleblower rules, the Commission explicitly declined to include foreign
Filed: 04/28/2023




                     governments among the other enumerated entities in Rule 21 F-4(a): “We have also determined
                     not to expand the list of authorities in Rule 21F—4(a) to include foreign authorities. Foreign
                     authorities operate under different legal regimes, with different standards. further, as some
                     commenters pointed out, whether and under what circumstances the Commission may receive
                     information obtained by a foreign authority is more uncertain than is the case of other Federal
                     authorities, and state Attorneys General or securities regulators. In addition, we may have limited
                     ability to evaluate the scope of a request from a foreign authority to an individual, and whether it
                     relates to the subject matter of the individual’s whistleblower submission.”22 Accordingly,
                     Claimant 1 ‘s submission of information to the Commission is not voluntary pursuant to Rule
                     21F-4.
Document #1997134




                             Claimant 1 argues that the Dodd-Frank Act allows disclosures to the news media to be
                     considered “voluntary” because the Dodd-Frank Act defines “original information” as, among
                     other things, infonriation that is “not exclusively derived. from the news media, unless the
                                                                                            .   .




                     whistleblower is a source of the information.”23 However, whether Claimant 1 ‘s information is
                     “original information” is uTelevant: The CRS did not make a recommendation on that issue, and
                     it was not a basis for the Preliminary Determinations. A voluntary submission is a separate and
                     independent requirement for a whistleblower award,24 and the original information requirement
USCA Case #23-1124




                     enumerated agency before Claimant I provided his/her information. In his/her award application, Claimant 1
                     responded “No” to the question “Did you provide the information identified [in the claimant’s tip] before you (or
                     anyone representing you) received any request, inquiry or demand that relates to the subject matter of your
                     submission (1) from the SEC,    or (iii) in connection with an investigation by the Congress.”
                                                     .   .   .




                     21
                          Exchange Act Rule 21F-4(a)(2), 17 C.F.R. § 240.2 lf-4(a)(2).

                     22
                          See Securities Whistleblower Incentives and Protections, 76 fed. Reg. 34300, 34,308 n.74 (June 13, 2011).

                     23 15 U.S.C.
                                    § 78u-6(a)(3).
                     24
                       See 15 U.S.C. § 78u-6(b)(l) (“the Commission. shall pay an award. to 1 or more whistleblowers who
                                                                          .   .                     .   .




                     voluntarily provided original information to the Commission that led to the successful enforcement of the covered
                     judicial or administrative action      (emphasis added).



                                                                                                                                 EXHIBIT 2   -   Page 9
                     is not a substitute for the voluntary submission requirement.25 The record demonstrates that
                       Redacted                          .   .                .

                                and Commission staff contacted Claimant 1 regarding the subject matter of his/her
                     submission before Claimant 1 provided infoniiation to either of them or any other Rule 2 lf-4(a)
                     enumerated entity.

                              We also decline to accept Claimant 1 ‘s argument that the Commission should interpret its
                     rule in a way that equates the news media to the other enumerated authorities in Rule 21 F
Page 13 of 16




                     4(a)(2). This argument is contrary to the plain text of the rule. in addition, Claimant’s proffered
                     interpretation would create difficulties in the implementation of 21 F-4(a).

                            Accordingly, Claimant 1 has not met the voluntary submission requirement for a
                     whistleblower award as set forth in Rule 21F-4(a).26

                                ii.        TCR Filing Requirements
Filed: 04/28/2023




                            The record also shows that Claimant 1 did not follow the procedural TCR filing
                     requirements of Rule 2 1F-9 and therefore his/her claim must be denied on this independent
                     ground. Rule 21 F-9 requires, among other things, that claimants submit information on Form
                     TCR within 30 days of providing their infonrtation to the Commission. Claimant 1 first
                                                                Redacted
                     submitted a TCR to the Commission in                  more than ten months after first providing
                                                                                   ,
                                                           Redacted
                     information to Enforcement staff in              that he/she relies upon for his/her claim for award.
                     Accordingly, Claimant 1 has not met the requirements of Rule 2 lF-9.

                              Claimant 1 argues that he/she was not personally aware of the TCR filing requirements,
                     and when Claimant 1 became aware, he/she quickly submitted a TCR. But under Rule 21 F-9(e),
Document #1997134




                     if a claimant has counsel, which Claimant 1 did, then the claimant is considered to have
                     constructive notice of the filing requirements. Claimant 1 was represented by initial Counsel at
                            Redacted   .             .                .   .

                     the             interview with the Commission, and thus had constructive notice of the TCR filing
                     requirements and the obligation to file a TCR within 30 days of the interview pursuant to Rule
                     21F-9. Claimant 1 further argues that initial Counsel did not represent him/her with regard to the
                     Dodd-Frank Act. But Rule 21F-9(e) charges a claimant with constructive notice of the filing

                     25
                        Claimant I also argues that the Commission’s 2011 whistleblower rulemaking was inadequate in failing to include
                     the news media as one of the enumerated entities to which Claimant l’s submission would be considered voluntary
                     under Rule 21 F-4(a)( I), and that consequently, only Rules 21 F- 10 and 21 F-lI are applicable to Claimant 1. To the
USCA Case #23-1124




                     extent that Claimant I is challenging the Commission’s 2011 rulemaking, such arguments are beyond the scope of
                     this adjudication.

                     26
                       Claimant I has requested that we invoke our exemptive authority under Section 36(a) of the Exchange Act to
                     waive the voluntary requirement. Section 3 6(a) grants the Commission the authority in certain circumstances to
                     “exempt any person. from any provision or provisions of this title or of any rule or regulation thereunder, to the
                                             .   .



                     extent that such exemption is necessary or appropriate in the public interest, and is consistent with the protection of
                     investors.” The circumstances here do not warrant invoking Section 36(a). One of the principal objectives of
                     Section 21 F of the Exchange Act “is to promote effective enforcement of the federal securities laws by providing
                     incentives for persons with knowledge of misconduct to come forward and share their information with the
                     Commission.” Securities Whistleblower Incentives and Protections, 76 Fed. Reg. 34300, 34,308 (June 13, 2011).
                     Granting an exemption under these circumstances “is inconsistent with the statutory purpose of incentivizing
                     whistleblowers to come forward early.” Order Determining Whistleblower Award Claim, Exchange Act Rel. No.
                     92355 (July 9,2021).




                                                                                                                                   EXHIBIT 2   -   Page 10
                     requirements when claimants “retain counsel to represent [claimant] in connection with
                     [claimant’s] submission of original information.”27 Here, as evidenced by Initial Counsel’s
                     engagement agreement provided in Claimant l’s response to the Preliminary Determinations,
                     Initial Counsel was retained “in connection with [Claimant 1 ‘s] efforts to provide information to
                     the U.S. government.” initial Counsel represented Claimant I at the interview with Enforcement
                     staff and staff fiom other government agencies. Based on these facts and circumstances, we find
                     that Initial Counsel represented Claimant 1 with regard to his/her submission to the Commission,
Page 14 of 16




                                                                                                    0 acte
                     and that Claimant I was thus on notice of the TCR filing requirements as of

                            Accordingly, Claimant 1 did not submit a TCR pursuant to the Commission’s filing
                     requirements, and thus Claimant 1 is not eligible for an award on this independent ground. 29

                            B. Claimant 3
Filed: 04/28/2023




                             Claimant 3 does not qualify for an award. The staff confirmed that the information in
                     Claimant 3’s tips to the Commission was already known to the staff assigned to the
                     Investigation. The staff also did not coimmunicate with Claimant 3 during the course of the
                     Investigation. further, the staff confirmed that Claimant 3’s information did not cause the staff
                     to open the Investigation or have any impact on the Investigation or the charges brought in the
                     Covered Action.

                             Claimant 3’s arguments regarding the administrative record are unavailing. The
                     whistleblower rules penrtit an award claimant to request and receive a copy of the materials that
                     form the basis of the Preliminary Determinations as to that claimant.30 Claimant 3 made such a
                     request and received a copy of those materials, and thus Claimant 3 was provided the “full
Document #1997134




                     administrative record” to which he/she is entitled. The whistleblower rules do not entitle access
                     to declarations that do not exist, nor entitle access to the files of other agencies.31 And as evident
                     from the record, Claimant 3’s information did not lead to the success of the Covered Action.


                     27
                          Exchange Act Rule 21F-9(e)(I), 17 C.F.R. § 240.21F-9(e)(1).

                     2$ Claimant 1 does not argue he/she meets all of the requirements for the Rule 21F-9(e) waiver of noncompliance.
                     Even if Claimant 1 did, Claimant 1 would not merit a waiver. As discussed above, Claimant 1 did not make a
                     voluntary submission, and thus the record does not “unambiguously demonstrate[] that [Claimant 1] would
                     otherwise qualify for an award,” a necessary element for the Rule 2 I F-9(e) waiver. Exchange Act Rule 2 1 F-9(e)(2),
USCA Case #23-1124




                     17 C.F.R. § 240.2 IF-9(e)(2).

                     29
                       Claimant 1 also seeks a Section 36(a) exemption for the Form ICR filing requirement. The circumstances here
                     do not warrant invoking Section 3 6(a).

                     °
                          See Exchange Act Rule 21 F- 1 0(e)( I )(i), 17 C.F.R. § 240.21 F-I 0(e)( I )(i).

                     31
                        As part of the materials, Claimant 3 was provided with a copy of the single staff declaration that informed the
                     CRS’s Preliminary Determinations. The other declarations cited in Claimant 3’s Response do not exist. And
                     contrary to Claimant 3’s view that the staff declaration was based on the limited knowledge of one attorney, the
                     declaration, which we credit, states that it was based on the declarant’s knowledge as well as information provided
                     by other Commission staff Claimant 3 also seeks materials from at least three other governmental agencies which
                     allegedly received information from Claimant 3. But because Claimant 3 is not eligible for an award for the
                     Covered Action, Claimant 3 is not eligible for an award based on a related action by another government agency.
                     See 15 U.S.C. § 78u-6(b); Exchange Act Rule 2lF-3(b), (b)(l); Rule 21F-4(g) and (1), and Rule 21F-l 1(a); Order


                                                                                                                                EXHIBIT 2- Page 11
                                    Accordingly, Claimant 3 is not entitled to an award.

                                 C. Claimant 4

                                Claimant 4 does not qualify for an award. As noted above, the staff declaration confirms,
                        under penalty of perjury, that the Investigation began in      following review of news articles.
                        further, the staff declaration confmris that Enforcement staff assigned to the Investigation did
Page 15 of 16




                        not receive any information from Claimant 4 during the Investigation, and that the staff did not
                        have any communication with Claimant 4. While Claimant 4 argues in the Claimant 4 Response
                        that he/she provided information to the Commission about the Company as early as            there                ,


                        is no information in the record supporting the contention that such information in any way
                        contributed to the success of the Covered Action.32 Accordingly, we find that Claimant 4’s
                        infonriation did not lead to the success of the Covered Action.
Filed: 04/28/2023




                                   In addition, Claimant 4’s Response did not contest the CRS’s recommendation that
                            Claimant 4’s claim be denied on the additional ground of Claimant 4’s application not being
                            submitted within ninety-days of the posting of the NoCA. By failing to timely present any
                            argument to the Commission during the reconsideration stage as to this other ground for denial,
                            Claimant 4 has forfeited the opportunity to contest this ground.

                                    For both of these reasons, Claimant 4 is not entitled to an award.

                     111.        Conclusion

                                  Accordingly, it is hereby ORDERED that the whistleblower award applications of
Document #1997134




                            Claimants 1, 3, and 4 in connection with the Covered Action be, and hereby are, denied.

                                    By the Commission.



                                                                                                     J. Matthew DeLesDemier
                                                                                                     Deputy Secretary


                            Determining Whistleblower Award Claims, Release No. 34-84506 (Oct. 30, 201 8); Order Determining
USCA Case #23-1124




                            Whistleblower Award Claims, Release No. 34-84503 (Oct. 30, 2018). Accordingly, there is no need for
                            Commission staff to contact staff from any other government agency because Claimant 3 does not qualify for a
                            related action award. Claimant 3 has received the record materials to which he/she is entitled.

                            32
                              While Claimant 4’s Response provided some documents that were allegedly part of Claimant 4’s
                            submission, Claimant 4 did not provide any submission number or identify any tip in support of his/her argument.

                              C’f Rule 2lF-l0(fl, 17 C.F.R. § 240.2 lf-10(fl (“Your failure to submit a timely response contesting a Preliminary
                            Determination will constitute a failure to exhaust administrative remedies, and you will be prohibited from pursuing
                            an appeal pursuant to § 240.2 1f-13 of this chapter.”).

                              To the extent that Claimants seek a related action award, none are eligible. As already noted, a related action
                            award may be made only if, among other things, the claimant satisfies the eligibility criteria for an award for the
                            applicable Commission covered action in the first instance. Because Claimants are not qualified for an award in
                            connection with the Covered Action, Claimants are ineligible for a related action award.



                                                                                                                                        EXHIBIT 2   -   Page 12
                                             CERTIFICATE OF SERVICE

                     I hereby certify that, pursuant to Fed. R. App. P. 25(c), I served copies of the
                     foregoing Petition for Review and Motion to File Under Seal on April 28, 2023 via
                     U.S. mail and email upon:
Page 16 of 16




                     Nicole Creola Kelly, Chief
                     Office of the Whistleblower
                     U.S. Securities and Exchange Commission
                     100 F St. NE
                     Mail Stop 5631
Filed: 04/28/2023




                     Washington, DC 20549
                     Kel1yNsec .gov

                     Stephen G. Yoder
                     Office of General Counsel
                     U.S. Securities and Exchange Commission
                     lOOF St.NE
                     Washington, DC 20549
Document #1997134




                     YoderS @sec .gov



                                                                             /s/ Stephen M Kohn
                                                                             Stephen M. Kohn
USCA Case #23-1124
